                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

     KEVIN BROOKS, DAVID GATER,                 )
     MATTHEW WARD, CRAIG                        )
     WORKMAN, DANIEL EMBRY and                  )
     JOSEPH GAMMON,                             )
                                                )
             Plaintiffs,                        )
                                                )
     v.                                         )     Case No. 3:16-cv-02269
                                                )     Judge Aleta A. Trauger
     TIRE DISCOUNTERS, INC.,                    )
                                                )
             Defendant.                         )

                                       MEMORANDUM

          Before the court are the defendant’s six separate Motions for Summary Judgment (Doc.

Nos. 49–54), seeking judgment in the defendant’s favor on the six plaintiffs’ claims under the

Fair Labor Standards Act (“FLSA”) and state law for overtime compensation and other damages.

Each motion has been fully briefed and is ripe for review. For the reasons set forth herein, the

motion seeking judgment in the defendant’s favor on the claims brought by plaintiff David Gater

(Doc. No. 49) will be granted, and the other motions (Doc. Nos. 50–54) will be denied insofar as

they pertain to the FLSA claims but granted with respect to the state law claims.

I.        PROCEDURAL BACKGROUND

          Plaintiffs Kevin Brooks, Daniel Embry, Joseph Gammon, David Gater, Matthew Ward,

and Craig Workman filed this lawsuit in August 2016 against their former employer, defendant

Tire Discounters, Inc. (“TDI”), asserting that, while employed by TDI, they regularly performed

work in excess of forty hours per week and that TDI willfully failed to pay them overtime wages

as required by the FLSA. Instead, they were misclassified as employees who were “exempt”

from the requirements of the FLSA pertaining to overtime pay and paid a salary that did not vary




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based on the number of hours worked. In addition to their FLSA claims, they assert state law

claims for “Unjust Enrichment/Quantum Meruit/Breach of Contract.” (Compl., Doc. 1, at 3.)

They seek a declaratory judgment that TDI violated the FLSA and that the violation was willful,

an award of damages in the amount of unpaid compensation owed under the FLSA, plus interest

and liquidated damages, attorneys’ fees and costs. (Id. at 4.)

         TDI’s Motions for Summary Judgment argue that each plaintiff was properly classified as

exempt under the FLSA and, as such, was not entitled to overtime pay and that their state law

claims are insufficiently pleaded and preempted by the FLSA. With respect to plaintiff Gater,

TDI also argues that his claims are barred by the applicable statute of limitations.

         In their joint Response to the defendant’s Motions for Summary Judgment, the plaintiffs

argue that TDI has the burden of proving an exemption under the FLSA and that TDI cannot

establish that any of the plaintiffs qualifies for the exemption for “executive” employees under

29 C.F.R. § 541.100(a). In particular, they argue that there is a material factual dispute as to

whether the plaintiffs had the authority to hire or fire other employees and as to whether the

plaintiffs’ suggestions and recommendations as to hiring, firing and promotions were given

“particular weight.” Id. § 541.100(a)(4). The plaintiffs argue that there is also a question of fact

as to whether the defendant’s violation of the FLSA was “willful” for purposes of application of

the statute of limitations to Gater’s claims. They do not address the defendant’s argument that

their state law claims are preempted by the FLSA.

II.      MATERIAL FACTS 1

         Defendant TDI is in the business of selling tires and other car parts, servicing vehicles,

and installing tires. During 2014 and 2015, the general time frame relevant to this lawsuit, TDI

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        Unless otherwise indicated, the facts set forth herein are undisputed for purposes of the
defendant’s motions.



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was rapidly expanding and opened several new stores in and around the Nashville area. The

plaintiffs were hired to work in these new stores.

       Each TDI store is managed by a general manager (also called a “store manager”), who is

responsible for running the entire store. Each store generally has several sales associates who

work in the front of the store and are primarily responsible for selling tires and other equipment.

The sales associates report directly to the general manager. The back of the store, or service

center, is where service technicians and tire technicians work. Most TDI stores have a service

manager who is responsible for managing the service center. The technicians report directly to

the service manager, who reports to the general manager. The general manager reports to a

regional manager.

       Each plaintiff in this lawsuit worked for TDI as a general manager, service manager, or

both during the 2014–2016 time frame. Most of them started as manager trainees. The regional

managers to whom they reported were Rafe Barber and, later, Dan Keim.

       It is undisputed for purposes of the defendant’s Motions for Summary Judgment that the

positions of general manager and service manager were at all times salaried positions and that

each plaintiff, at all times during his tenure with TDI, earned more than $455 per week.

Generally, they earned between $600 and $750 per week and were also eligible for monthly

commissions and spiffs, defined as “Bonuses based on Individual Performance.” (Doc. No. 43-3,

at 1.) The plaintiffs also concede, at least for purposes of summary judgment, that, at all times

during their employment, they supervised and managed at least two other employees, that the

primary duty of a general manager consisted of managing or running the particular store to

which he was assigned, and that the primary duty of a service manager consisted of managing or

running the service center of a particular store.




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        TDI expected managers to work fifty-two scheduled hours per week and understood that

they generally worked more than that during the time period in question. All of the plaintiffs

maintain that they worked substantially in excess of forty hours per week on a regular basis

during their employment.

        Jamie Ward, TDI’s Chief Operating Officer, submitted an Affidavit in which he attests

that “[b]oth the general manager and the service manager have the power, and authority to,

interview, hire, discipline and terminate employees.” (Doc. No. 49-1, at 3, J. Ward Aff. ¶ 22. 2)

He also attests that both general managers and service managers undergo “a full day training

program” “to go over the job responsibilities and make sure there was a uniform understanding

by the managers of their primary duties.” (Id. ¶ 25.) The written Job Description for general

managers states broadly that the “store manager is responsible for recruiting, hiring, training,

developing and evaluating the staff [of] the retail store location.” (Doc. No. 49-1, at 5.) The

Service Manager Job Description states that the service manager has the authority to “[a]ssist in

the hiring, discipline and termination of shop staff.” (Id. at 6.)

        A.      Kevin Brooks

        Plaintiff Kevin Brooks was hired by TDI in March 2014 as a manager trainee. He became

a general manager in July 2014, was put on a Performance Improvement Plan in October 2014,

and was demoted to service manager in February 2015. He was eventually promoted back to the

position of general manager in November 2015 but quit his job in February 2016.

        Brooks testified in his deposition that he does not specifically recall ever having seen a

copy of the general manager Job Description, but he conceded that it was probably in the


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         He equivocates somewhat on this point with regard to service managers, stating that
they are “given the authority to assist in hiring employees for the service center including the
service center employees.” (Ward Aff. ¶ 19 (emphasis added).)



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materials given to him when he was hired. (Doc. No. 43, Brooks Dep. 35–36.) He was sent to

Cincinnati for a week of training, which consisted of being placed in stores that were short-

staffed and learning while doing. He sat in on one day of training at the corporate office, but that

training consisted of talk about “breaks and stuff like that.” (Id. at 34.) They did not talk about

“management and things like that.” (Id.) He denies ever seeing the Service Manager Job

Description prior to his deposition. (Id. at 72.)

       He denies ever interviewing any prospective employees. (Id. at 47.) Instead, he “talked to

a couple employees while they were waiting to be interviewed by Dan [Keim],” the regional

manager. (Id.) Keim “sometimes” would ask Brooks what he thought about the interviewees, but

Brooks himself “never hired a single soul.” (Id. at 74.) He did have occasion to recommend

technicians for advancement or promotion (see id. at 82–83), but it is unclear how much weight

his recommendations carried.

       He never terminated anyone and denies that he had the authority to do so: “That was

Dan’s job, Dan or Rafe’s job.” (Id. at 62.) But Brooks does not recall that anyone was actually

terminated from his store while he was working for TDI. He remembers that he had “one tire

tech” whom he “didn’t want there,” and that tech was moved to a different store. (Id. at 62–63.)

       B.      Daniel Embry

       Embry started as a sales associate at TDI’s Smyrna store in December 2014 and reported

to Kevin Brooks. (Doc. No. 47, Embry Dep. 16.) He was sent to Cincinnati soon after he was

hired, to receive training as a sales associate. (Id. at 19.) He was promoted to service manager at

the Murfreesboro Medical Center store in June 2015. He was promoted to general manager in

August 2015. (Id. at 27.) He left the company in January or February 2016. (Id. at 32.)




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       Embry never saw a job description for general manager prior to preparing for his

deposition. (Id. at 32.) He does not recall if anyone was hired at his store while he was service

manager, but he did not sit in on any interviews. Likewise, he does not recall any terminations

during his tenure. (Id. at 29.) When asked if he understood that his role as manager was to

“manage and direct the operations of a Tire Discounters retail store,” he agreed that that is what

his job “should have been,” but, he maintained, “Dan Keim literally told [him] everything [he]

had to do as a general manager.” (Id. at 34.) He backtracked somewhat regarding the scope of

that statement, explaining that, other than selling tires, “I couldn’t do anything else without

approval . . . . I had to get approval for anything that I needed in that store, to schedule my own

guys I had to get approval.” (Id.) For example, when it came to scheduling, he was required to

fill out schedules each week, but Keim invariably changed them. (Id. at 35.)

       He testified unequivocally that he was not allowed to hire or fire employees and “wasn’t

allowed to really even interview.” (Id. at 43–45.) He wanted to fire a particular employee after

the employee cursed at him and walked out of the store, but Keim did not allow it. (Id. at 45.) He

testified that Keim told him specifically that he was not “allowed to even hire a tire tech.” (Id.)

He also tried to get a sales associate promoted to service manager, but his recommendation “fell

on deaf ears.” (Id.) With respect to technicians, if they did their training, they generally got

promoted as a matter of course, once he “sent the training up to corporate.” (Id. at 45–46.) He did

not believe that his recommendation for their promotion entered into the picture.

       C.      Joseph Gammon

       Plaintiff Joe Gammon began working for TDI in January 2015 and left in March 2016.

He was hired as a manager trainee and was sent for two weeks of training in Cincinnati, which

he found very helpful. (Doc. No. 48, Gammon Dep. at 42.) However, he denied ever seeing the




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written Job Description for the general manager or service manager position prior to his

deposition. (Id. at 104.)

       A month after his hire, he was promoted to service manager. He worked as service

manager for three months before becoming general manager in June 2015. He was moved to a

different store that was chronically understaffed, but he was not allowed to hire more staff to

meet the store’s needs. Keim kept telling him, “it’s a new store and we’re trying to find the right

people,” but “it was always the roundabout.” (Id. at 69.) He testified that he trained at least two

employees whom he hoped he would be allowed to keep as employees at his store, but it was not

his “call.” (Id. at 70.) They were sent to other stores instead. (Id. at 86.) He never had a service

manager the entire time he was employed as general manager and was not given the option of

hiring one. (Id. at 91, 146.) Moreover, while he would prepare weekly schedules for his

employees, Keim invariably changed them and, not infrequently, pulled employees from

Gammon’s store to place them at different stores, requiring Gammon to cover as best as he

could. Gammon did not have authority to give an employee a day off—Keim had to approve it.

       As an example, Gammon relayed an instance when he had two employees who needed

days off back to back, so the schedule Gammon prepared reflected their requests. The schedule

Keim sent back disregarded the employees’ requests and gave each employee the day off the

other had requested:

       One guy had to have a Tuesday off, the other guy had to have a Wednesday off.
       And so when I submitted the schedule to Dan [Keim], it was like that. He didn’t
       like that. He swapped it, for whatever reason. He swapped it back. So that would
       have meant both guys were going to miss whatever appointment they were going
       to have.

Id. at 92–93. Gammon had no authority to give the men the days off that they had requested, but

the two employees more or less took matters into their own hands:

       And so when the schedule came back, . . . I told the guys, . . . he swapped it back.



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       I said, I think that he’s going to expect you guys to work like this. And . . . what
       ended up happening was, I believe the first employee on the Tuesday, he just
       ended up calling out.

       So, therefore, it just meant by default now I had to call the other guy and see if he
       could come in and cover it. And so he did. And then the other one . . . , they
       had . . . figured out that they could do this and get around it. And so that’s what
       they ended up doing.

Id. at 93. Keim was not pleased by the work-around and implicitly threatened Gammon’s job

over the matter:

       Well, when Dan found out that they did not follow the schedule that he had set
       forth, he told me that, you know, it’s a condition of employment. They’re going to
       follow the schedule that I submit to you, not the one you submit to me.

(Id. at 93–94.)

       Gammon denies ever sitting in on, or participating in, interviews of prospective

employees. (Id. at 107.) He also denies that he had the ability or discretion to fire employees. He

provided an example of an employee who performed poorly and whom he wanted to fire. He

brought the issue to Keim’s attention, but Keim told him “it wasn’t up to [him] to make that

decision.” (Id. at 129.) He agrees that he could make the recommendation but maintains that he

could not make the decision and that his recommendation was disregarded in that instance. Later,

in the case of two employees who committed a similar but less egregious mistake, Gammon

wanted to give them a written warning instead of firing them. Keim overrode that decision as

well and forced him to fire them:

       They’re going to be terminated. You don’t have a choice in this matter. He let me
       know that I didn’t have a choice in that matter. . . .

       When I asked him, I said . . . , well, what if I say no, I don’t agree with that and
       I’m not going to present this [termination notice]? He told me my job would be in
       jeopardy. It was a condition of employment. That was—that was something he
       used a lot, condition of employment.

(Id. at 135–36.)




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        Gammon also testified that, as service manager, he never participated in hiring, formal

discipline, or terminations. (Id. at 140.)

        D.      David Gater

        Plaintiff David Gater had two stints at TDI, the first in Kentucky, from 2010 to 2013. He

was recruited to work for the company again in 2014 by Rafe Barber and came on board as a

manager trainee at TDI’s Mount Juliet store in March 2014. (Doc. No. 44, Gater Dep. 26.)

        He was promoted to service manager at the Smyrna store within three or four weeks. (Id.

at 29.) He held the position from May through August 12, 2014, when he resigned because the

hours were too long. (Id. at 31–32; Resignation Notice, Doc. No. 44-2.) The Complaint in this

case was filed on August 23, 2016. (Doc. No. 1.)

        E.      Matthew Ward

        Ward was employed as a manager trainee at TDI in June 2014. He trained for a week at

the Mount Juliet store and then was moved to Smyrna, where he stayed for the rest of his tenure

with the company. (Doc. No. 45, Ward Dep. 16–22.) He was promoted to service manager in

November 2014. He was unhappy with that promotion, because he had been led to believe he

would be promoted to a general manager position, where he would have had a better opportunity

to match the salary of the job he left to come to work for TDI. (Id. at 23.) He quit in February

2015, after giving two weeks’ notice. (Id. at 24.)

        He never saw the Service Manager Job Description prior to his deposition. (Id. at 25.)

Although several tire technicians and mechanics were hired while he was service manager, he

never participated in any interviews of any candidates and was not asked his opinion of any of

the candidates. (Id. at 28.) He does not recall any terminations during his tenure, though several

people quit. He remembers that “one guy got terminated – well, I wouldn’t call it a termination,




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he turned in a notice, and when he turned in his notice . . . Dan Keim escorted him off the

property.” (Id. at 29.)

        Ward also testified that he never “corrected or disciplined anybody at all.” (Id. at 29.)

Instead, he offered general guidance and corrections, “just general safety” precautions. (Id.) He

testified generally that “what’s seen on paper and what they try to get you to believe is not in fact

the realization and the happenings within Tire Discounters.” (Id. at 40–41.)

        F.      Craig Workman

        Craig Workman began his employment with TDI in November 2014. He believed that he

was hired to be a general manager with the possibility of moving up to regional manager for a

division that was opening up. (Doc. No. 46, Workman Dep. 26, 29–30.) He actually started as a

manager trainee, where, he maintains, he received very little training. (Id. at 34.) He was

promoted to general manager of the Smyrna store in February 2015. (Id. at 38–39, 68.) He quit in

October 2015. (Id. at 37.)

        Workman testified specifically that he “was not allowed to hire. Dan [Keim] did all the

hiring.” (Id. at 57.) He stated that Keim also did all the interviewing, although Workman believes

he “might have sat in on one interview with him.” (Id. at 58.) On one occasion, however,

Workman recommended hiring a particular guy and communicated to human resources that he

could use the guy two days a week and that Joe Gammon, who was also short-handed, could use

the guy two days a week. Human resources forwarded the email to Keim, who responded to

Workman’s request by asking: “Will this guy be able to go to the new Brentwood store if

needed? Right now we are fully staffed at Smyrna and all 3 Murfreesboro stores for TTs [entry-

level tire technicians].” (Id. at 60–61; Doc. No. 46-4.) Workman testified that, although he felt

that he was shorthanded, Keim “didn’t think so.” (Workman Dep. 61.) Ultimately, Workman was




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not sure whether the person was hired at all, but he seemed to recall that Keim hired the person

but placed him at a different store, not Workman’s store. (Id. at 61–63.)

        Workman also testified that he did not have ultimate authority related to the staffing of

his store: “I also complained [to the regional managers] that we didn’t have employees because

he [Keim] pulled them all out without my permission and [would] bring different employees in.”

(Id. at 71.)

        Workman testified that he did issue formal discipline to employees, by going through

human resources and the company’s official policies for doing so. He initially stated that he

never personally fired anyone, but then recalled one instance when he was speaking to an

employee about redoing a job he had done incorrectly. He stated:

        The employee started to walk off. You know what, forget it. I quit. You’ve been
        pressuring me. You’re too – just started cussing, ranting, and raving. I said, you’re
        gone, go, get your tools. I called Dan. I said, hey, this is what happened. He said,
        let him go and contact HR.

        And that’s the only one I can remember on that.

(Id. at 85.)

        Workman does not recall having seen the general manager Job Description but concedes

that it was “probably . . . in the employee handbook,” which was provided to him. (Id. at 69.)

III.    SUMMARY JUDGMENT STANDARD

        Rule 56 requires the court to grant a motion for summary judgment if “the movant shows

that there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). To win summary judgment on a particular claim, the

moving defendant must show that, as a matter of undisputed material fact, the plaintiff cannot

establish at least one essential element of that claim. Once the moving party makes its initial

showing, the burden shifts to the plaintiff to provide evidence beyond the pleadings, “set[ting]




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forth specific facts showing that there is a genuine issue for trial.” Moldowan v. City of Warren,

578 F.3d 351, 374 (6th Cir. 2009); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322–23

(1986). “In evaluating the evidence, the court must draw all inferences in the light most

favorable to the non-moving party.” Moldowan, 578 F.3d at 374 (citing Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).

       At this stage, “‘the judge’s function is not . . . to weigh the evidence and determine the

truth of the matter, but to determine whether there is a genuine issue for trial.’” Id. (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986)). But “[t]he mere existence of a

scintilla of evidence in support of the [non-moving party’s] position will be insufficient,” and the

party’s proof must be more than “merely colorable.” Anderson, 477 U.S. 242, at 252. An issue of

fact is “genuine” only if a reasonable jury could find for the non-moving party. Moldowan, 578

F.3d at 374 (citing Anderson, 477 U.S. at 252).

IV.    ANALYSIS

       A.      Statute of Limitations

       A two-year statute of limitation applies to FLSA claims for unpaid overtime

compensation, “except that a cause of action arising out of a willful violation may be

commenced within three years after the cause of action accrued.” 29 U.S.C. § 255(a). “Willful

violation means a violation in circumstances where the agency knew that its conduct was

prohibited by the Act or showed reckless disregard of the requirements of the Act.” 5 C.F.R. §

551.104. Further, “[a]ll of the facts and circumstances surrounding the violation are taken into

account in determining whether a violation was willful.” Id. The plaintiff bears the burden of

proving willfulness. McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988).

       The defendant argues that plaintiff David Gater’s FLSA claims are subject to dismissal in




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their entirety, because Gater’s employment as a service manager with TDI ended more than two

years prior to the filing of the Complaint in this case, and there is no evidence of a willful

violation of the FLSA. It is undisputed that, unless the three-year limitations period for willful

violations applies, Gater’s FLSA claims are time-barred.

       The evidence put forward by TDI in support of its argument shows that it consulted with

counsel prior to establishing the service manager position and that the Department of Labor

investigated in 2014 and 2015 and determined that the position was properly classified. (J. Ward

Aff. ¶¶ 18, 26; WHISARD Compliance Action Report, Doc. No. 49-1, at 8–9.) 3

       In response, the plaintiffs point out that Gater testified that “the company had changed”

during the time between his first stint with TDI, which ended in 2013, and his second stint,

which began in 2014. (Gater Dep. 44; Doc. No. 71, at 12.) As a result of the changes, he felt he

was no longer able to provide meaningful input in the operations of the store. (Gater Dep. 44.)

The plaintiff argues on this basis that “Defendant knew how to allow Mr. Gater to conduct

business so as to make him exempt; however, that culture changed under the micromanaged

guidance of Mr. Keim and Mr. Barber.” (Doc. No. 71, at 12.)

       In other words, the plaintiffs are essentially arguing that, because TDI was aware of the

existence of the FLSA and knew how to operate within its confines in 2013, its failure to do so in

2014 means that its violation of the FLSA was willful. The “knew or showed reckless disregard”

standard established by the regulations, however, does not embrace such a broad construction of

willfulness. Rather, the Supreme Court has held that “a standard that merely requires that an

employer knew that the FLSA ‘was in the picture’ . . . virtually obliterates any distinction

between willful and nonwillful violations.” McLaughlin, 486 U.S. at 132–33. The Court also

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        This Department of Labor investigation began after Gater’s employment ended. (See
Doc. No. 49-1, at 8 (identifying the period of investigation as 09/21/2014 to 01/11/2015).)



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rejected a standard that would require only a showing that the employer, “recognizing that it

might be covered by the FLSA, acted without a reasonable belief for believing that it was

complying with the statute,” noting that such a standard “would apparently make the issue in

most cases turn on whether the employer sought legal advice concerning its pay practices.” Id. at

134. As such, it would permit liability based on nothing more than negligence. Id. at 135.

       Based on McLaughlin, courts within the Sixth Circuit have generally found the

willfulness standard met where there is evidence in the record that the employer actually knew

that its conduct violated the FLSA or was placed on notice that its conduct might violate the

statute, whether by prior Department of Labor investigations, by prior complaints or lawsuits

brought by employees, or otherwise. See, e.g., Herman v. Palo Group Foster Home, Inc., 183

F.3d 468 (6th Cir. 1999) (holding that the district court properly found that the defendants’

violations were willful where the company’s owner had been investigated for violations twice in

the past, paid unpaid overtime wages, received explanations of what was required to comply with

the Act, and assured the Department of Labor that he would comply in the future); Dole v. Elliott

Travel & Tours, Inc., 942 F.2d 962, 967 (6th Cir. 1991) (finding willfulness where the employer

had actual notice of FLSA requirements as a result of earlier violations, had agreed to pay unpaid

overtime wages, and had assured future compliance with the FLSA); Byrd v. ABC Prof’l Tree

Serv., Inc., 832 F. Supp. 2d 917, 921 (M.D. Tenn. 2011) (finding that the evidence of past

investigations and agreements to pay back wages constituted evidence of willfulness); Wilson v.

Guardian Angel Nursing, Inc., No. 3:07-0069, 2008 WL 2944661, at *20 (M.D. Tenn. July 31,

2008) (finding willfulness where the defendants purchased fifty percent of a company, with

knowledge that that company had previously been sued by the Department of Labor for overtime

violations and settled the suit by paying backpay to employees around the time of the agreement,




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but failed to ascertain whether violations were ongoing (citing Herman v. RSR Sec. Servs. Ltd.,

172 F.3d 132, 142 (2d Cir.1999) (finding recklessness where defendant company turned a blind

eye toward the FLSA violations of a company that defendants took over)); see also Thomas v.

Doan Const. Co., No. 13-11853, 2014 WL 1405222, at *14 (E.D. Mich. April 11, 2014) (“Courts

have found willfulness in situations where the defendant had previous Department of Labor

investigations regarding overtime violations, prior agreements to pay unpaid overtime wages,

and assurances of future compliance. Courts have also found willfulness in situations in which

the employer deliberately chose to avoid researching the laws’ terms or affirmatively evading

them.” (internal quotation marks and citations omitted)).

       Conversely, courts have declined to find willfulness where there is no concrete evidence

that the defendant knew or should have known that its practices violated the FLSA. See, e.g.,

Ouellette v. Ameridial, Inc., No. 5:16-cv-2144, 2017 WL 2972636, at *5 (N.D. Ohio July 12,

2017) (holding that a two-year statute of limitations applied to a collective-action FLSA case,

where the complaint did “not actually allege that defendant knew that its procedures violated the

statute” and did not allege “that defendant has been sued for FLSA violations previously, which

would constitute sufficient notice to establish willfulness”); Lopez-Gomez v. Jim’s Place, LLC,

No. 2:14-CV-02309-JPM, 2015 WL 4209809, at *7–8 (W.D. Tenn. July 10, 2015) (rejecting

plaintiff’s argument that the defendant “willfully violated the FLSA as a matter of law,” where

the plaintiff had “not alleged that Defendants were previously investigated for FLSA violations,”

irrespective of the fact that the “Defendants did not make any attempt to consult with any

professional . . . to ensure the payment (or nonpayment) of overtime complied with the FLSA”).

       The court finds that the evidence in this case, even viewed in the light most favorable to

Gater, is insufficient to establish willfulness. The defendant has shown that the written job




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description called for service managers to “assist” in hiring and firing, suggesting that their

recommendations would be taken into consideration, and that it consulted with counsel in

developing the job description for service manager (the only position Gater held). Gater has not

shown that TDI, previous to or during his employment, had been sued for FLSA violations or

investigated by the Department of Labor. He has not presented any evidence suggesting that TDI

knew or recklessly failed to discover that it was violating the statute. Thus, even assuming that

Gater was improperly classified as exempt, the evidence, at worst, suggests negligence on the

part of the company in allowing a few particularly zealous regional managers to exert too much

control over the stores in their region.

       The plaintiff has the burden of bringing forth evidence that the defendant’s actions

concerning the FLSA were willful. Because there is no evidence of willfulness, the two-year

statute of limitations applies. As a result, Gater’s FLSA claims are time-barred, and TDI is

entitled to summary judgment in its favor on those claims.

       B.      FLSA Claims for Overtime Pay

               1.      The Executive Exemption

       “Congress enacted the FLSA in 1938 as a remedial statute ‘designed to correct labor

conditions detrimental to the maintenance of the minimum standard of living necessary for

health, efficiency, and general well-being of workers. . . .’” Baden-Winterwood v. Life Time

Fitness, Inc., 566 F.3d 618, 626 (6th Cir. 2009) (quoting Dunlop v. Carriage Carpet Co., 548

F.2d 139, 143 (6th Cir. 1977) (some internal quotation marks omitted)). The FLSA requires

employers to pay their employees overtime for work performed in excess of forty hours per

week. 29 U.S.C. § 207(a)(1).

       However, the FLSA contains certain exemptions from the overtime compensation




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requirement, including exemptions for “any employee employed in a bona fide executive,

administrative, or professional capacity.” 29 U.S.C. § 213(a)(1). FLSA overtime exemptions are

“affirmative defense[s] on which the employer has the burden of proof,” and those exemptions

“are to be narrowly construed against the employers seeking to assert them.” Thomas v.

Speedway SuperAm., LLC, 506 F.3d 496, 501 (6th Cir. 2007) (quoting Corning Glass Works v.

Brennan, 417 U.S. 188, 196–97 (1974), and Arnold v. Ben Kanowsky, Inc., 361 U.S. 388, 392

(1960)).

       In this case, TDI claims that the plaintiffs are exempt under § 213(a)(1) because they

were “employed in a bona fide executive capacity,” as that term is defined by the applicable

regulations. Under those regulations, the “executive exemption” applies to any employee who is

paid a salary “of not less than $455 per week” 4 and:

       (2) Whose primary duty is management of the enterprise in which the employee is
       employed or of a customarily recognized department or subdivision thereof;

       (3) Who customarily and regularly directs the work of two or more other
       employees; and

       (4) Who has the authority to hire or fire other employees or whose suggestions
       and recommendations as to the hiring, firing, advancement, promotion or any
       other change of status of other employees are given particular weight.

29 C.F.R. § 541.100(a). “The employer bears the burden of establishing the affirmative defense

by a preponderance of the evidence, and the employer satisfies this burden only by providing

       4
          The Department of Labor published a final rule effective December 1, 2016 raising the
$455.00 per week requirement to $913.00 per week. See 29 C.F.R. § 541.600; 81 FR 32391-01,
2016 WL 2943519. The Honorable Judge Amos L. Mazzant, United States District Judge for the
Eastern District of Texas, issued a preliminary injunction on November 22, 2016 enjoining the
Department of Labor from “implementing and enforcing” the new regulation, Nevada v. Dep’t of
Labor, 218 F. Supp. 3d 520, 534 (E.D. Tex. 2016), and ruled on August 31, 2017 that the rule
exceeded the Department of Labor’s authority, see Nevada v. Dep’t of Labor, 275 F. Supp. 3d
795, at *8 (E.D. Tex. 2017). Some of the plaintiffs were employed past December 1, 2016, but
the parties apparently presume that the version of the regulation requiring payment of at least
$455 per week applies.



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‘clear and affirmative evidence that the employee meets every requirement of an exemption.’”

Orton v. Johnny’s Lunch Franchise, LLC, 668 F.3d 843, 847 (6th Cir. 2012) (quoting Thomas,

506 F.3d at 501).

               2.      Section 541.100(a)(4)

       There is no dispute that all plaintiffs made more than $455 per week while employed by

TDI. Further, at least for purposes of the defendant’s Motions for Summary Judgment, the

plaintiffs concede that their primary duties consisted of management of a TDI store or

management of the service department of a TDI store and that they all regularly directed the

work of two or more employees. The only question confronting the court is whether TDI has

established that each individual plaintiff had the authority to hire and fire other employees or that

their “recommendations as to the hiring, firing, advancement, promotion or any other change of

status of other employees [were] given particular weight.” 29 C.F.R. § 541.100(a)(4).

       The regulations provide that,

       [t]o determine whether an employee’s suggestions and recommendations are
       given ‘particular weight,’ factors to be considered include, but are not limited to,
       whether it is part of the employee’s job duties to make such suggestions and
       recommendations; the frequency with which such suggestions and
       recommendations are made or requested; and the frequency with which the
       employee’s suggestions and recommendations are relied upon.

29 C.F.R. § 541.105. However, an “employee’s suggestions and recommendations may still be

deemed to have ‘particular weight’ even if a higher level manager’s recommendation has more

importance and even if the employee does not have authority to make the ultimate decision as to

the employee’s change in status.” Id.

       Whether an employee has the requisite authority under § 541.100(a)(4) depends upon the

unique factual circumstances of each case. In those cases finding that the exemption is met, the

testimony is typically unequivocal regarding the plaintiff’s authority. See, e.g., Lovelady v.




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Allsup’s Convenience Stores, Inc., 304 F. App’x 301, 306 (5th Cir. 2008) (per curiam) (affirming

the district court’s decision that the defendant satisfied the fourth element because the plaintiffs

testified that their hiring recommendations were almost always followed—the only exception

being when a background check on a recommended employee disclosed a criminal record; they

could fire employees without obtaining authorization from a higher manager; and their

recommendations as to promotions and raises were usually followed); Grace v. Family Dollar

Stores, Inc., 845 F. Supp. 2d 653, 663 (W.D.N.C. 2012) (finding fourth element satisfied based

on the plaintiff-store manager’s own deposition testimony that she selected applicants for

interviews, conducted interviews, recommended employees for promotions and demotions,

“made frequent recommendations as to these matters to her district manager and her

recommendations were almost always followed”); Rainey v. McWane, Inc., 552 F. Supp. 2d 626,

632 (E.D. Tex. 2008) (finding the fourth element satisfied where the “uncontested evidence”

showed that, although the human resources department did the initial hiring, the plaintiffs

completed weekly employee evaluations, which were used to determine whether new employees

became permanent, and recommended employee discipline, which was almost always followed).

       To the contrary, in Duffie v. The Michigan Group, Inc., the district court found that the

defendant was not entitled to summary judgment based on a material factual dispute as to

whether the plaintiff had the authority to hire and fire and as to whether her recommendations on

personnel matters were given particular weight. No. 14-cv-14148, 2016 WL 28987, at *13 (E.D.

Mich. Jan. 4, 2016), motion for reconsideration granted in other part, 2016 WL 8259511 (Jan.

15, 2016). There, the defendant showed that it had requested the plaintiff’s input on hiring

decisions four times in three years and had relied in some part on her suggestions twice. Id. The

defendant argued that, because there were so few hirings and firings, the court “must instead




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look to the relative size of the work force and the total number of times an employee was hired

or fired.” Id. The court disagreed, finding the evidence “insufficient to conclusively establish that

defendant relied on plaintiff’s input often enough that her input was given ‘particular weight.’”

Id.

       Likewise, in Ristovski v. Midfield Concession Enterprises, Inc., 2017 WL 3601950 (E.D.

Mich. Aug. 22, 2017), the court found a material factual dispute as to the whether any of the

three plaintiffs had the ability to hire or fire and as to whether their recommendations were given

particular weight. With respect to plaintiff Ristovski, the defendant argued that the undisputed

evidence showed that the company had hired at least one candidate whom Ristovski had

recommended and that Ristovski sat in on interviews with the defendant’s upper management,

asked questions during interviews, provided her opinion at the conclusion of interviews, and

could make hiring recommendations. Id. at *9. The court noted, however, that other evidence in

the record indicated that the defendant’s upper-level management alone made all hiring and

firing decisions; that all employees were offered an incentive to refer candidates for hire; and

that, during the year and a half that Ristovski was employed, the company hired 100 to 150

employees, but Ristovski participated in only three interviews, and her hiring recommendation

was followed only once. Id. The court found that the evidence was not sufficiently conclusive to

warrant summary judgment. Id.; accord Bray v. Dog Star Ranch, Inc., No. 1:08-CV-1005, 2010

WL 889908, at *6 (W.D. Mich. March 10, 2010) (finding that the evidence that the plaintiff

participated in one firing was “too isolated to clearly establish [the plaintiff’s] authority”).

               3.      The Plaintiffs’ Authority to Hire and Fire

       Turning to the case at bar, the court finds, first, that there is clearly a material factual

dispute as to whether the plaintiffs had the authority to hire and fire. The evidence proffered by




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the defendant consists of Jamie Ward’s Affidavit and the written job descriptions for general

managers and service managers. Ward attests that general managers had “the power, and

authority to, interview, hire, discipline and terminate employees.” (J. Ward Aff. ¶ 21.) And the

written job description for general manager states that one of the “primary” responsibilities of a

general manager is to “attract, hire, train, develop, evaluate and retain store employees.” (Doc.

No. 49-1, at 5.) Regarding service managers, Ward likewise asserts that they too had the

authority to hire and fire (J. Ward Aff. ¶ 19), but he then states that service managers had only

the authority to “assist” in hiring service center employees (id. ¶ 19), which is consistent with the

written job description for service managers. Ward does not claim to have personal knowledge

regarding the actual practices at the stores at issue here or as to whether the plaintiffs were

actually involved in hiring and firing.

       For their part, the plaintiffs uniformly testified that they did not have authority to hire and

fire. (Brooks Dep. 62, 74; Embry Dep. 43–45; Gammon Dep. 129, 140, 146; Workman Dep.

57.) 5 The plaintiffs’ testimony is sufficient to create a material factual dispute as to whether they

had the authority to hire and fire, regardless of what their formal job descriptions stated.

               4.      The Weight Given the Plaintiffs’ Recommendations

       Ward’s testimony does not address the matter of whether the plaintiffs’ recommendations

as to “the hiring, firing, advancement, promotion or any other change of status of other

employees [were] given particular weight.” 29 C.F.R. § 541.100(a)(4). The defendant, instead,

relies entirely on the plaintiffs’ deposition testimony in support of its argument that this element

of the test is met. The court finds that the available evidence is insufficient to establish that any


       5
         Plaintiff Ward was not specifically asked whether he had the authority to hire and fire,
but his testimony generally establishes that he did not, since he did not participate in formal
interviews and, as discussed below, his recommendations did not appear to carry great weight.



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plaintiff’s recommendations were given “particular weight.”

                                         i. Kevin Brooks

        As set forth above, Kevin Brooks worked as a general manager for approximately seven

months, as service manager for approximately nine months, and as general manager again for

approximately three months. During that period, according to his deposition testimony, he

occasionally recommended technicians for advancement or promotion, but it is unclear how

often this occurred or how much weight his recommendations were given. It appears generally

from Brooks’ testimony and that of others that the promotion of a technician largely depended on

whether the technician had passed certain tests and met certain objective criteria, such that the

manager’s recommendation carried marginal weight, if any.

        Brooks testified that he never interviewed prospective employees or sat in on interviews

with Dan Keim. (Brooks Dep. 47.) Instead, he might talk to candidates informally while they

were waiting to be interviewed, and Keim might ask him what he thought about the interviewees,

but there is no evidence in the record as to whether Keim acted on Brooks’ opinions. Brooks

recalls one instance in which there was a tire tech whom he “didn’t want there, but they moved

him to a different store.” (Id. at 62–63.) He does not actually indicate whether there was a causal

connection between those events. He does not recall that any employees were actually terminated

during his tenure. (Id. at 63.)

        This evidence does not clearly establish that Brooks’ recommendations were given any

particular weight. The defendant has not carried its burden on summary judgment on that issue.

                                         ii. Daniel Embry

        Embry was a service manager for TDI for approximately three months and a general

manager for approximately six months. He testified that, during that time, not only was he not




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allowed to hire or fire, he “wasn’t allowed really to interview.” (Embry Dep. 44.) He does not

remember that anyone was hired at or fired from his store while he was at TDI, but he does recall

that he was not permitted to fire an employee who cursed at him and walked out, nor was his

recommendation that a sales associate be promoted to service manager acted upon. (Id. at 45–

46.) Regarding the promotion of tire and service technicians, he understood that the individuals

in these positions were promoted essentially as a matter of course if he “sent the training up to

corporate.” (Id. at 46.) His recommendation did not enter into the picture. (Id. at 45–47.)

        Again, the evidence is insufficient to conclusively establish that the defendant relied on

the plaintiff’s input often enough that it was given “particular weight.” The defendant has failed

to meet its burden of establishing that Embry was covered by the FLSA’s executive exemption.

                                       iii. Joseph Gammon

        According to Gammon, his store was chronically understaffed during his approximately

nine months as general manager, but he was never permitted to hire a service manager. Regional

manager Dan Keim controlled the staffing schedule for his store, frequently pulling employees

from Gammon’s store to work at other stores. On one occasion, an employee Gammon believed

should be fired or disciplined was not, and Keim specifically told Gammon that the decision to

fire the employee was not his to make. Gammon was later forced to fire two employees who, he

strongly believed, should not have been let go. Generally, he testified that, when he

recommended a person for hire, that person was not hired, and when he offered an opinion to

Keim that someone should not be hired because “they had no business working on cars,” Keim

hired that person. (Id. at 108.)

        The evidence viewed in the light most favorable to the plaintiff strongly suggests that

Gammon’s suggestions and recommendations regarding the staffing, hiring, firing, discipline,




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and promotion of other employees were not given any particular weight. The defendant has

failed to meet its burden on summary judgment of establishing that Embry was covered by the

FLSA’s executive exemption.

                                         iv. Matthew Ward

         Ward worked as service manager for TDI for a short three months. While several

technicians were hired during his tenure, he did not participate in the interviews of any of the

candidates and was not asked his opinion about any of them, indicating that his

recommendations in the arena of hiring were not given any weight. He does not recall any

terminations, and he never formally disciplined any of the employees under his supervision.

         Once again, the plaintiffs’ evidence establishes at least a material factual dispute as to

whether Ward qualifies for the executive exemption.

                                        v. Craig Workman

         Workman was a general manager for eight months. He testified that he did not have the

authority to hire, that Keim did all the hiring, that he “might” have sat in on one interview.

(Workman Dep. 57.) There is no evidence regarding how many employees were hired at

Workman’s store while he was general manager or how many interviews Keim conducted during

that time.

         Workman concedes that, on one occasion, he recommended that an employee be hired,

via an email sent to human resources, which was forwarded to Keim. Keim responded by telling

Workman that his store was fully staffed and asking whether the guy would be willing to go to

the new store in Brentwood. Ultimately, the evidence in the record is inconclusive regarding

whether this candidate was hired at all, but it is clear that he was not hired to work in Workman’s

store.




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       Workman denies ever firing anyone, but he described an incident during which he

confronted an employee about a poorly done job. The employee became frustrated, announced

that he quit, and began ranting and raving. Workman told him, “you’re gone, go, get your tools.”

(Workman Dep. 85.) He relayed the incident to Keim, who told him to let the guy go and to

report it to human resources. It is unclear from this evidence whether the employee actually was

fired or whether he quit.

       Regardless, even assuming that Workman’s “recommendations” as to hiring and firing

were taken into consideration on two occasions, as in Duffie v. The Michigan Group,

       [t]he issue here is that, because there were so few such scenarios, plaintiff’s input
       as to the hiring and firing of one employee could be characterized either as an
       “occasional suggestion” or as routine participation. . . . At the summary judgment
       stage, those two instances are insufficient to conclusively establish that defendant
       relied on plaintiff’s input often enough that [his] input was given “particular
       weight.”

Duffie, 2016 WL 8259511, at *13. 6

       In short, with respect to Workman, too, the defendant has failed to establish that the

FLSA’s executive exemption applies.

                 4.      Conclusion – Executive Exemption

       Because there is a material factual dispute as to whether the plaintiffs had “the authority

to hire or fire other employees” and as to whether their “suggestions and recommendations as to

the hiring, firing, advancement, promotion or any other change of status of other employees

[were] given particular weight,” 29 C.F.R. § 541.100(a)(4), TDI’s Motions for Summary

Judgment on the FLSA claims for overtime pay brought by plaintiffs Brooks, Embry, Gammon,

Ward, and Workman must be denied.



       6
           The same conclusion applies with equal force to each of the other plaintiffs’ situations.



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       C.      State Law Claims

       TDI argues that the plaintiffs’ state law claims are subject to dismissal on the basis that

the Complaint does not incorporate any facts supporting independent claims for “Unjust

enrichment/Quantum Meruit/Breach of Contract” and that, instead, the state law claims appear to

simply mirror the FLSA claims. (See, e.g., Doc. No. 49, at 17–18.) The plaintiffs did not respond

to this argument in their joint Response (see generally Doc. No. 71), nor did they seek to respond

to the defendant’s Reply, which points out that the plaintiffs did “not even address Defendant’s

argument” regarding the state law claims in responding to the Motions for Summary Judgment.

(Doc. No. 88, at 13.)

       The court finds that the plaintiffs’ failure to respond to the defendant’s argument

regarding the state law claims constitutes abandonment of those claims. See Hicks v. Concorde

Career Coll., 449 F. App’x 484, 487 (6th Cir. 2011) (“The district court properly declined to

consider the merits of this claim because [the plaintiff] failed to address it in either his response

to the summary judgment motion or his response to [the defendant’s] reply brief); Clark v. City

of Dublin, 178 F. App’x 522, 524–25 (6th Cir. 2006) (affirming trial court’s finding that a party’s

failure to properly respond to arguments raised in a motion for summary judgment constituted an

abandonment of those claims).

       Because the plaintiffs have abandoned their state law claims and failed to carry their

burden on summary judgment as to those claims, TDI’s Motions for Summary Judgment will be

granted insofar as they seek judgment in the defendant’s favor on those claims.

V.     CONCLUSION

       For the reasons set forth herein, the Motion for Summary Judgment as to David Gater’s

claims—the FLSA claims and the state law claims—will be granted in its entirety. The




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remaining Motions for Summary Judgment will be denied with respect to the FLSA claims and

granted with respect to the state law claims.

       An Order consistent with these findings is filed herewith.

       ENTER this 8th day of March 2018.




                                                ____________________________________
                                                ALETA A. TRAUGER
                                                United States District Judge




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